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                                                     U .S r " F CT COUR T
                                                                    DIV.
      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF GEORGIA
           SAVANNAH DIVISIO N

UNITED STATE S

V. 405CRO59

MARTIN J . BRADLEY, III, et al .
                                                     to oversee her. See doe . # 599 at 2-4 ; # 1000 at
                                                    3 .' The Receiver has since marshaled various
                    ORDER                           non-cash assets for liquidation , and has filed a
                                                    variety of motions to assist in the orderly asset
1. INTRODUCTIO N                                    liquidations . To that end , she successfully
                                                    moved to seal some filings, see, e.g., doe . # 905
    Before the Court in this complex criminal       and has been sending the Court -- unfiled --
RICO prosecution is a motion (doe . # 1000) by      various monthly (Receiver and Monitor ) reports
the Court-appointed Monitor to amend the            to keep the Cou rt apprised of her progress .
Court's 7/30/07 Order (doc . # 992). That Order
directed the unsealed filing of Receiver and           Bradley, Jr.'s wife, Norma Bradley, moved
Monitor reports concerning millions of dollars      the Court for access to those reports (hence, she
worth of ongoing forfeiture asset liquidation in    wanted them filed in the record, if not receive a
this case . The Receiver herself moves the Court    copy directly) . Doe. # 977 . Both the Receiver
for leave to file her un-redacted reports under     and the Government opposed, arguing that she
seal, doe . # 998, then file a separate, redacted   had no standing . Doc . ## 979, 982 .
version . Doc. # 999 .
                                                       Norma, however, advanced her motion not
II. BACKGROUN D                                     only as a private party but as a member of the
                                                    general public. Doc. # 977 at 3 (citing U.S. v.
   This criminal RICO prosecution arises from       Ochoa-Vasquez, 428 F .3d 1015,1030(l l th Cir.
a prescription-drug-based fraud scheme              2005)) . This Court comprehensively explored
advanced in varying degrees by eight individual     the law governing sealing and secrecy in U.S. v.
and two corporate defendants . Doc. # 1 ; # 106     Bradley, 2007 WL 1703232 (S .D.Ga. 6/11/07)
at 2. A jury convicted Martin J . Bradley, Jr .,    (unpublished) . There it overruled defendant
Martin J. Bradley, III, Albert Tellechea and Bio-   Martin Bradley, Jr.'s objection (doe . # 950) to
Med Plus, Inc . (Bio-Med) . Doc . ## 738-41 . The   this Court's announced intent to unseal the entire
Court ultimately entered Consent Orders             record of this case, and thus his personal
directing forfeiture and, to that end, appointing   medical information . Id. at * 5 .
a Receiver and Monitor to marshal the Bradley
defendants' forfeited assets, which includes Bio-      The Court reached that result after applying
Med and its inventory. Doc. ## 598, 599, 790 .      the express command of Romero v. Drummon d
Some of the defendants' assets were tangled up
with their wives' property, so this has
complicated matters .
                                                      ' Those who violate S .D .GA .Loc .R 10 .1's pagination
                                                    command needlessly burden this Court . See doc . # 1000
   Meanwhile, the Receiver had a previous           (Monitor's motion/brief) . The Court has manually
professional relationship with some of the          paginated doc . # 1000 so that it can pin- cite to pages
defendants, so the Court appointed the Monitor      within it. Counsel are instructed to train themselves and
                                                    their staff to use their word processor's pagination feature .
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Co., Inc., 480 F.3d 1234, 1245-46 (11th Cir .                     not be legally distinguished from the monthly
2007) and Ochoa, 428 F.3d at 1028-29, to                          reports that warranted docket-record inclusion in
presume against secret documents, secret                           U.S. v. Amodeo, 44 F .3d 141, 145-46 (each
dockets, secret proceedings, and all the real and                 report filed with district court by court officer,
imagined sins that can be buried within . That's                  who was appointed as part of consent decree
why "[j]udicial records presumptively are                         and whose duties were to investigate corruption
subject to public inspection ." See also Cedar                    in labor union and oversee actions of trustee
Swamp Holdings, Inc. v. Zaman, 476 F .Supp .2d                    appointed to administer affairs of union, was
303, 304 (S .D.N .Y. 2007) .                                      "judicial document" subject to common-law
                                                                  presumption ofpublic access, even though court
    The obvious rationale : this is a court of                     officer was not required to file reports, where
record precisely to enable public and appellate                    court officer deemed it prudent to file reports,
 scrutiny and thus uphold confidence in the                        district court stated that it was helpful to receive
justice system itself Lugosch v . Pyramid Co . of                  the reports, and consent decree made reports and
 Onondaga , 435 F .3d 110, 119 (2nd Cir . 2006) .                  exhibits filed relevant to performance of judicial
 Filing anything aimed at influencing judicial                     function), later appeal, 71 F.3d 1044 (2nd Cir.
 rulings easily fits into what ordinarily must be                  1995) (fine-tuning how a court should apply the
 disclosed of record . Prescient Acquisition                       presumption of access) . See also Zaman, 476
 Group, Inc. v. MJ Pub . Trust, 487 F.Supp.2d                      F.Supp .2d at 304 (defendants' papers in
 374, 375 (S .D.N .Y . 2007) (court "raised sua                    opposition to plaintiffs' preliminary injunction
 sponte the propriety of the sealed filing of                      motion could not be deleted from public record
 submissions , nearly two feet in height, on a                     or filed under seal, but were subject to public
 pending summary judgment motion" ) .z                             inspection ; court had relied upon the papers in
                                                                   ruling on the motion, the strong presumption in
   In granting the Receiver' s sealing motions,                    favor of keeping them on the public record was
the Court had been influenced by the                               not overcome, the papers were part of public
commercial sensitivity and transactional                           record for nine days before plaintiffs even made
complexities reflected in her monthly reports,                     motion to protect them, and they did not seek
see, e .g., doc. # 900, so it could hardly be said                 expedited treatment of the motion) .
that they are superfluous to this case and thus
unworthy of inclusion in the record.'                                For that matter, the Court continued,
                                                                  "[w]hat's sauce for the goose is sauce for the
  In that regard, the Receiver's and Monitor's                    gander," In Re Six, 80 F .3d 452, 457 (11th Cir .
monthly reports, the Court concluded, coul d                      1996) -- the Court had unsealed documents
                                                                  reflecting Martin Bradley, Jr .'s personal health
                                                                  information -- so the Court granted Norma
                                                                  Bradley's motion (doc. # 977), to this extent :
 Z S .D .Ga.Loc.R . 79 .7 prohibits parties from filing any
documents under seal unless they first obtain the Court's
permission.                                                          The Receiver is directed to file her and the
                                                                     Monitor's monthly reports in one
     In fact, the Court had just consulted the 7/7/07                document but in chronological order, from
Monitor' s Report at 16 and 20, regarding a pending                  the oldest to the latest, then timely file all
motion (doc . # 946) to Stay the Destruction of                      monthly reports thereafter. Leave is
Non-Pedigree Invento ry. It also noted the Receiver's
conflict illuminated on page 21 therein .
                                                                     granted to the Receiver and Monitor,

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  however, to file a motion to redact any                     relating to these three areas of
  data within those reports that meets this                   responsibility.
  Court's previously illuminated sealing
  criteria . Should such motion be received                Id.    Since the Monitor does make asset-
  within ten days of the date this Order is                marshaling/liquidating decisions, but only
  served, then this Order's direction (to file             monitors the Receiver, id., the "interests in
  the monthly reports) is automatically                    transparency that the Court desires to ensure by
  stayed pending disposition of that motion .              its order are not implicated by [the Monitor's]
                                                           role and [its] reports in the same way they are by
Doe . # 992 at 2 . The Receiver has filed a                the Receiver's reports ." Id. at 2. Forcing the
motion to redact, doc . # 999; see also # 998              Monitor to file its reports "may unwittingly
(motion to file unredacted reports under seal),            result in a significant diminution of [its] ability
thus automatically staying the Court's Order               to accurately and candidly refer any comment on
docketed at # 992 . The Monitor, meanwhile,                concerns of conflict to the government ." Id. at
has filed a motion to amend, doc . # 1000,                 3.
seeking to be relieved from filing any reports .
Norma and her husband, Bradley, Jr ., oppose                  Thus, the Monitor concludes, such exposure
these motions . Doc . ## 1003,1004,1007,1008 .             "will likely alter the working relationship with
                                                           the Receiver," and therefore "may make it more
III. ANALYSI S                                             difficult to obtain information on a timely
                                                           basis ." Id. And that may,
   A. Monitor's Motion to Amend
                                                              in turn, make it more difficult to assess the
   Moving to amend Order # 992, the Monitor                   conduct of the Receiver . It will also likely
wants to be excluded from the public-filing                   result in the Monitor's role being
Order . It insists that it is "unique ." Doc. # 1000          misconstrued by the defendants and make
at 2 . It has, the Monitor reminds ,                          the Monitor an arm of the defendants
                                                              rather than a protector of the government's
   carried out its role in overseeing the                     interests .
   conduct and activities of the Receiver for
   the purpose of identifying any action or                Id.4
   omission (i) that may have been
   influenced by an apparent conflict of                     None of these arguments are convincing .
   interest, (ii) caused the government's                  The whole point of using a Monitor is to
   property interests in assets to be sold in              oversee a Receiver who used to have a
   satisfaction of the Court's Preliminary                 professional relationship with some of the
   Order of Forfeiture to be unduly                        defendants (see doc. # 1000 at 2) and who is
   diminished or dissipated, or (iii) was in               marshaling and liquidating tens of millions of
   violation of any federal law or policy of
   the U S . Department of Justice related to
   the forfeiture and disposition of property                 ' This is not a baseless contention . In his opposition
    subject to forfeiture . The Monitor has in              brief defendant Martin J . Bradley, Jr . contends that the
                                                            Monitor must uphold a fiduciary duty to both the
    compliance with the direction of the Order              Government and the forfeiture defendants in this case .
   prepared and submitted monthly reports                   Doc . # 1007 at 2 ; see also doc . # 872 at 2 .

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dollars in assets which, pursuant to forfeiture,                conflict to the government ." Doc. # 1000 at 3 . '
now belong to the U . S . Government and thus
the public in this presumptively public-access                     The same may be said for the Monitor's
forum . If the Receiver runs off the rails, the                 concern about its role being "misconstrued by
Monitor is supposed to speak up .                               the defendants" - to make it "an arm of the
                                                                defendants ." Id. The defendants can construe
   That means speak up publicly , as sunshine                   or misconstrue anything they want ; the Monitor
still remains the best disinfectant against                     simply does not work for them . And the Court
incompetence, fi nancial mismanagement, or                      is well able to sort out any baseless legal claims
worse . And there is nothing "unique" about                     raised before it .'
employing an oversight agent . Much of the
Government itself has institutionalized this                       Those who seek to seal any cou rt record, or
feature (e.g., the Justice Department 's Office of              avoid the filing of anything sent to a judge, must
the Inspector General,-' Congress 's Government                 provide good "grounds for why they want
Accounting Office,b etc.), with public disclosure               something kept from the public , as there is a
(a steady stream of OIG and GAO reports) as an                  presumption against secrecy." Snethen v. Board
indispensable component .                                       ofPublic Educ..for the City of Savannah and the
                                                                County of Chatham, 2007 WL 2345247 at * 1
    Nor does the Monitor point to any Consent                   (S.D.Ga. 8/15/07) (unpublished) (emphasis
Order, agreement, or assurance by this Court                    added) (citing U.S. v. Bradley,         F.Supp .2d
that its reports, which obviously are intended to               -, 2007 WL 1464058 at * 10 (S .D.Ga .
influence Court rulings (the Cou rt has relied                  5/17/07 ), unsealing objections overruled, U.S. v.
upon them in extending the Receiver's                           Bradley, 2007 WL 1703232 (S .D.Ga. 6/11/07)
tenure ; see also supra n . 3), would not become                (unpublished) ; and US. v. Bradley, 405CRO59
part of the record before this Court . The Court                doc. # 992 (S .D.Ga. 7/30/07) ( unpublished)).
may have been remiss in failing to direct the
filing of these reports in the first place , but that               Here the Monitor has failed to overcome that
does not justify "dark-holing " them now .                      presumption . The Court therefore denies its
                                                                motion (doc. # 1000) to amend the Court's
  Finally , the Monitor 's relationship with the                7/30/07 Order (doc . # 992) . The Monitor
Receiver is supposed to be scrutinous , not cozy .              therefore shall file its reports, if not already part
Put simply, the Monitor should not feel bashful                 of the Receiver' s joint-filing bundle , as directed
about its duty to question , criticize or otherwise             by the Court's 7/30/07 Order (doc . # 992) at 2 .
monitor the Receiver. So, the Court rejects the
Monitor's subtle suggestion that public-scrutiny
"may unwittingly result in a significant
diminution of [its] ability to accurately and
candidly refer any comment on conce rns of                        7 If, by this language, the Monitor means that it feels
                                                                inclined to pull punches now that its reports will be filed,
                                                                then the Court will seek a new Monitor.

                                                                  8 The Receiver has special duties as set forth in a
 s http :// www.usdoj . gov/oig/ (site visited 9/25/07) .       previous Order , doc . # 872 at 2 . The Monitor's duty is
                                                                spelled out in the Court' s appointment Order, see doc . #
 e http ://www.gao .gov/ (site visited 9/25/07) .               599 ; this Court will control the contours of that duty.

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      B. Receiver 's Motion to Redac t                     explain how "attorney work-product regarding
                                                           strategy and litigation tactics could not have
   The Receiver, who says she has never been               been intended to affect [the Court's] decisions ."
provided with copies of the Monitor's reports,             Id. at 2 (quotes and cite omitted ; emphasis
doc . # 999 at 1 n . 1, seeks to file her reports in       added); see also doc. # 1003 (arguing that the
unredacted form under seal, doc . # 998, along             Government is a "third party," the disclosure of
with unsealed, but redacted reports, doc . # 999,          work-product material to a third party waives
basically blocking from public view :                      the privilege, so therefore data on that score
                                                           must not be kept sealed here) . Thus, Norma
      (a) sensitive business information on                contends, the Court should deny the Receiver's
      current and pending transactions the                 motion and direct her to file her reports,
      disclosure of which could adversely affect           unredacted, every 30 days . Id.
      those transactions to the detriment of the
      Receivership estate, and (b) attorney work              The Court grants the Receiver's motion and
      product regarding strategy and litigation            overrules Norma's "attorney work product"
      tactics in connection with pending or                objections . Plenty of legal decisions must be
      contemplated actions against third parties           made in optimizing the liquidation yield here,
      or in defense of third party claims,                 and inevitably the Bradley wives' interests will
      ongoing investigations or pending                    be adverse to the Government's (hence, the
      negotiations, the disclosure of which                Receiver's and Monitor's) interest in
      would also be injurious to the                       maximizing asset identification/collection up to
      Receivership estate .                                the limits of the Consent Forfeiture Order set
                                                           forth at doc . # 598 and clarified by later Orders .
Doe . # 999 at 2 .                                         See, e.g., Bradley, 2007 WL 1464058 at ** 3-8 .

    Norma, who holds property interests tied up               For that matter, the Receiver may be said to
in the forfeiture liquidation process, Bradley,            owe a fiduciary duty to both the Bradleys and
2007 WL 1464058 at * 1 n . 1, complains that               any Bradley creditors, see doc. # 872 at 2
she "cannot ascertain the Receiver ' s reasons for         (quoting a treatise concluding that) ; # 1014 at 4,
concealing so much information ." Doc. # 1018              but her primary duty obviously is to the
at 1 . As an example,                                      Government, which now holds title,
                                                           which attached on the date of their conviction,
      Mrs . Bradley cannot figure out how                  over the defendants' forfeitable assets . Bradley,
      Exhibit E (Summary of Estimated                      2007 WL 1464058 at * 4 . And no one can
      Liquidation Proceeds as of March 9, 2007)            dispute that the Government's interests are
      and Exhibit F (Estimated Distribution of             adverse to the Bradleys' . The Court therefore
      Liquidation Proceeds as of January 15,               accepts the Receiver's representation that
      2007) in the 30-day report for April 2006            redaction is necessary to protect attorney work
      qualify as either (1) sensitive business             product and advice .'
      information on current and pending
      transactions or (2) attorney work product
      regarding strategy and litigation tactics .           ' She says that the

                                                                   text in the Redaction Proposal was
Id.     Nor, in that regard, does the Receiver                     written to conceal informatio n

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   In contrast, the Receiver does not respond to       represents that revealing same will jeopardize or
Norma 's contention that too much non-attorney         otherwise impede optimal liquidation (e .g., she
related , "transaction information " would be          is contemplating the sale of an asset for which a
redacted here. The Receiver ' s response brief         Bradley wife might want to bid, but redaction is
focuses almost exclusively on Norma ' s work-          necessary to ensure that the wife bid on an equal
product argument , doc. # 1014 at 4-7 , and, at the    footing with all other bidders) . The Court will
end, advert s only to generalized "privacy             presume that "live" means current and future,
interests" without explicitly tying that term to       not past, transactions . Even at that, the Court
the transaction information that she now seeks         will consider objections to such redaction on a
to redact . Id. at 7 . The Court therefore             transaction-by-transaction basis, though it will
considers Norma ' s ( and husb and's) point            sanction any bad-faith consumption of the Court
conceded.                                              resources in that regard .

   The Receiver therefore is directed to file her      IV. CONCLUSIO N
reports with only attorney work-product and
advice redacted . After all forfeiture liquidation        Accordingly, the Monitor's motion to amend
is concluded, she shall take measures to "un-          (doc . # 1000) is DENIED . The Receiver's
redact" all that has been redacted (notify the         "redaction" and "sealing" motions (doc . # 998,
Clerk to unseal the un-redacted reports), as the       999) are GRANTED in part and DENIED in
sole purpose of the present sealing is to facilitate   part .
an orderly and optimal liquidation, and not
permanently conceal from the public the goings            This aL day of September, 2007 .
on here.

    Leave is granted, however, for the Receiver
to redact all "live" (i.e., imminent-collection and
sale) transaction information if she in good faith     B . AV T ENFIELD, JGE
                                                       UNITED STATES DISTRI COURT
                                                       SOUTHERN DISTRICT OF GEORGI A

                  regarding the Receiver's
                  attorneys ' opinions and
                  theories regarding adverse
                  litigation, negotiation, and
                  collection efforts . The
                  opinions and strategies
                  omitted from the Redaction
                  Proposal are a direct product
                  of the attorneys ' preparations
                  in these respects . While the
                  receivership is pending, it
                  is essential to keep their
                  opinions confidential from
                  adverse parties so they may
                  continue to effectively
                  represent and advise the
                  Receiver in performing her
                  obligations .

Doc. # 1014 at 4-5 .
